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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

ANGELA ANDERSON,

            Plaintiff,

            v.                                              Case No. 16-2038-JAR

EQUIFAX INFORMATION SERVICES, LLC,


            Defendant.


                                              ORDER

        The Court has been advised by counsel that the parties have reached an agreement

settling this case in its entirety.

        The clerk shall administratively terminate this action without prejudice. Pursuant to Rule

41(a)(1) of the Federal Rules of Civil Procedure, the parties shall file a stipulation of dismissal

signed by the parties, on or before 7/3/2018. The parties may reopen the proceedings for good

cause shown, for the entry of any stipulation or order, or for any other purpose required to obtain

a final determination of the litigation. If no stipulation is received and the parties have not

moved to reopen the case within the specified time, this order shall constitute the Court’s entry

of final judgment of dismissal with prejudice pursuant to Rule 41(a)(2).

        IT IS SO ORDERED.

Dated: June 6, 2018
                                                   S/ Julie A. Robinson
                                                  JULIE A. ROBINSON
                                                  CHIEF UNITED STATES DISTRICT JUDGE
